           Case 1:19-vv-01009-UNJ Document 31 Filed 02/04/21 Page 1 of 5




    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-1009V
                                          UNPUBLISHED


    STACIA EZELL,                                               Chief Special Master Corcoran

                         Petitioner,                            Filed: December 14, 2020
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Shoulder
                                                                Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


Maximillian J. Muller, Muller Brazil, LLP, Dresher, PA, for petitioner.

Mollie Danielle Gorney, U.S. Department of Justice, Washington, DC, for respondent.


                                 DECISION AWARDING DAMAGES1

       On July 15, 2019, Stacia Ezell filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the “Vaccine
Act”). Petitioner alleges that she suffered a right shoulder injury related to vaccine
administration (“SIRVA”) caused by the influenza vaccine on October 9, 2017. Petition at
1, ¶¶ 2, 15. The case was assigned to the Special Processing Unit of the Office of Special
Masters.

        On December 1, 2020, a ruling on entitlement was issued, finding Petitioner
entitled to compensation for her SIRVA. On December 14, 2020, Respondent filed a
proffer on award of compensation (“Proffer”) indicating Petitioner should be awarded
$98,097.34, representing compensation in the amount of $97,500.00 for her pain and
suffering and $597.34 for her past unrembursable expenses. Proffer at 1-2. In the Proffer,

1
   Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
          Case 1:19-vv-01009-UNJ Document 31 Filed 02/04/21 Page 2 of 5



Respondent represented that Petitioner agrees with the proffered award. Id. Based on
the record as a whole, I find that Petitioner is entitled to an award as stated in the Proffer.

      Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $98,097.34, representing compensation in the amount of
$97,500.00 for her pain and suffering and $597.34 for her actual unrembursable
expenses in the form of a check payable to Petitioner. This amount represents
compensation for all damages that would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
           Case 1:19-vv-01009-UNJ Document 31 Filed 02/04/21 Page 3 of 5




                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                           OFFICE OF SPECIAL MASTERS

                                                     )
    STACIA EZELL,                                    )
                                                     )
                 Petitioner,                         )
                                                     )    No. 19-1009V
    v.                                               )    Chief Special Master Corcoran
                                                     )    ECF
    SECRETARY OF HEALTH AND HUMAN                    )
    SERVICES,                                        )
                                                     )
                 Respondent.                         )
                                                     )

              RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

         On July 15, 2019, Stacia Parnell1 (“petitioner”) filed a petition for compensation under

the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -34 (“Vaccine Act”

or “Act”), alleging that she suffered a right Shoulder Injury Related to Vaccine Administration

(“SIRVA”), as defined in the Vaccine Injury Table, following administration of an influenza

vaccine she received on October 8, 2017. Petition at 1. On November 30, 2020, the Secretary of

Health and Human Services (“respondent”) filed a Rule 4(c) Report indicating that this case is

appropriate for compensation under the terms of the Act for a SIRVA Table injury, and on

December 1, 2020, the Chief Special Master issued a Ruling on Entitlement finding petitioner

entitled to compensation. ECF No. 20; ECF No. 21.

I.       Items of Compensation

         A.     Pain and Suffering

         Respondent proffers that petitioner should be awarded $97,500.00 in pain and suffering.

See 42 U.S.C. § 300aa-15(a)(4). Petitioner agrees.


1
 Petitioner originally filed the petition under her married name, Stacia Parnell, but the case
caption was subsequently amended on August 28, 2020, due to divorce.
            Case 1:19-vv-01009-UNJ Document 31 Filed 02/04/21 Page 4 of 5




       B.       Past Unreimbursable Expenses

       Evidence supplied by petitioner documents that she incurred past unreimbursable

expenses related to her vaccine-related injury. Respondent proffers that petitioner should be

awarded past unreimbursable expenses in the amount of $597.34. See 42 U.S.C. § 300aa-

15(a)(1)(B). Petitioner agrees.

       These amounts represent all elements of compensation to which petitioner is entitled

under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

II.    Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a

lump sum payment as described below and requests that the Chief Special Master’s decision and

the Court’s judgment award the following 2: a lump sum payment of $98,097.34, in the form of a

check payable to petitioner.

III.   Summary of Recommended Payments Following Judgment

       Lump sum payable to petitioner, Stacia Ezell:                                $98,097.34

                                              Respectfully submitted,

                                              JEFFREY BOSSERT CLARK
                                              Acting Assistant Attorney General

                                              C. SALVATORE D’ALESSIO
                                              Acting Director
                                              Torts Branch, Civil Division

                                              CATHARINE E. REEVES
                                              Deputy Director
                                              Torts Branch, Civil Division


2
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
                                                 2
       Case 1:19-vv-01009-UNJ Document 31 Filed 02/04/21 Page 5 of 5




                                  HEATHER L. PEARLMAN
                                  Assistant Director
                                  Torts Branch, Civil Division

                                  /s/ Mollie D. Gorney
                                  MOLLIE D. GORNEY
                                  Trial Attorney
                                  Torts Branch, Civil Division
                                  U.S. Department of Justice
                                  P.O. Box 146
                                  Benjamin Franklin Station
                                  Washington, D.C. 20044-0146
                                  Tel: (202) 616-4029


DATED: December 14, 2020




                                     3
